D Case 2:04-cr-20471-BBD Document 83 Filed 07/25/05 Page 1 of 3 Page|D 84

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--- FOR THE WESTERN DISTRICT oF TENNESSEE

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Crirninal No. 04-20471 D ‘/
V, criminal No. 04-20464 D

CHARLOTTE SHANELL CRAWFORD,

Defendant.

MOTION TO CONTINUE CHANGE OF PLEA HEARINGS

 

COMES NOW the Defendant, Charlotte Shanell Crawford, by and though
counsel, and moves this Court to continue the Change of Plea Hearings in the above-
referenced matters currently set for July 25, 2005, until August 1, 2005 at 11:00 a.m.

Plaintiff’s counsel will be out of the city on July 25, 2005 and unable to attend the
hearings set on that date.

Defendant’s counsel has spoken with Assistant United States Attomey Timothy
R. DiScenza and he is agreeable to continuing these hearing until August l, 2005 at 11:00
a.m.

WHEREFORE, Defendant moves that the Change of Plea beatings in the above-

referenced cases be continued until August l, 2005 at l 1200 a.m.

Respect lly submitted,

  
 
 

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DA

   

 

 

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8 nroe, Suite G-l

   

B RN|CE BOUIE DONALD

 

   

.S. DlSTRICT JUDGE Mernphis, Tennessee 38103
Attorney for Defendant
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wlth Ftu|e 55 and/or 32(b) FHCrP on

Case 2:04-cr-20471-BBD Document 83 Filed 07/25/05 Page 2 of 3 Page|D 85
CERTIFICATE OF SERVICE

The undersigned hereby certifies that a copy of the foregoing Motion has been

served on Timothy R. DiScenza, Assistant U ' ed States Attomey, 167 North Main, Suite
800, Memphis, Tennessee 38103, this the day of July 2005.

_,,/

WMH]'S

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UNITED SATE DISTRICT COURT - WTERN DISTRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 83 in
case 2:04-CR-20471 Was distributed by faX, mail, or direct printing on
July 28, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

